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B22A (Official Form 22 A) (Chapter 7) (04/10)
                                                                          According to the calculations required by this statement:
        Johnathan A King and Monica C King / Debtors
 In re: ___________________________________                                            The presumption arises.
                               Debtor(s)
                                                                                X      The presumption does not arise.
 Case Number: ____________________________                                             The presumption is temporarily inapplicable.
                         (If known)
                                                                           (Check the box as directed in Parts I, III, and VI of this statement)
                            CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                       AND CALCULATION OF COMMITMENT PERIOD AND DISPOSAL INCOME
In addition to Schedules I and J, this statement must be completed by every individual Chapter 7 debtor, whether or not filing jointly,
whose debts are primarily consumer debts. Joint debtors may complete one statement only.

               Part I.     - EXCLUSION FOR DISABLED VETERANS AND NON-CONSUMER DEBTORS
       If you are a disabled veteran described in the Veteran's Declaration in this Part I, (1) check the box at the beginning of the
       Veteran's Declarations, (2) check the "Presumption does not arise" box at the top of this statement, and (3) complete the
       verification in Part VIII. Do not complete any of the remaining parts of this statement.
  1A
           Veteran's Declaration. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as defined
       in 38 U.S.C. § 374 (1)) whose indebtedness occured primarily during a period in which I was on active duty (as defined in 10
       U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. § 901(1)).

        If your debts are not primarily consumer debts, check the box below and complete the verification in Part VIII. Do not
  1B    complete any of the remaining parts of this statement.
             Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.

       Reservists and National Guard Members; active duty or homeland devense activity. Members of a reserve component of
       the Armed Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C. § 101(d)(1))
       after September 11, 2001, for a period of at least 90 days, or who have performed homeland defense activity (as defined in 32
       U.S.C. § 901(1)) for a period of at least 90 days, are excluded from all forms of means testing during the time of active duty or
       homeland defense activity and for 540 days thereafter (the "exclusion period"). If you qualify for this temporary exclusion, (1)
       check the appropriate boxes and complete any required information in the Declaration of Reservists and National Guard
       Members below, (2) check the box for "The presumption is temporarily inapplicable" at the top of this statement, and (3)
       complete the verification in Part VIII. During your exclusion period you are not required to complete the balance of this
       form, but you must complete the form no alter than 14 days after the date on which you exclusion period ends, unless
       the time for filing a motion raising the means test presumption expires in your case before your exclusion period ends.

          Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries
  1C below, I declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve component
     of the Armed Forces or National Guard

                      a.   I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                     I remain on active duty /or/
                                     I was released from active duty on                      , which is less than 540 days before this
                           bankruptcy case was filed;

                                 OR

                      b.    I am performing homeland defense activity for a period of at least 90 days /or/
                            I performed homeland defense activity for a period of at least 90 days, terminating on
                                               , which is less than 540 days before this bankruptcy case was filed.




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                      Part II. ~ CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
      Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
      a.         Unmarried. Complete only Column A (“Debtor’s Income”) for Lines 3-11.
      b.         Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
                 penalty of perjury: “My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I
                 are living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code.”
                 Complete only Column A (“Debtor’s Income”) for Lines 3-11.
      c.         Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both
                 Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for Lines 3-11.
  2   d.   X     Married, filing jointly. Complete both Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for
                 Lines 3-11.

      All figures must reflect average monthly income received from all sources, derived during
      the six calendar months prior to filing the bankruptcy case, ending on the last day of the                     Column A           Column B
      month before the filing. If the amount of monthly income varied during the six months, you                     Debtor's           Spouse's
      must divide the six-month total by six, and enter the result on the appropriate line.                           Income             Income


  3   Gross wages, salary, tips, bonuses, overtime, commissions.
                                                                                                                       $ 6,734.50            $ 0.00
      Income from the operation of a business, profession or farm. Subtract Line b from Line a
      and enter the difference in the appropriate column(s) of Line 4. If you operate more than one
      business, profession or farm, enter aggregate numbers and provide details on an attachment.
      Do not enter a number less than zero. Do not include any part of the business expenses
      entered on Line b as a deduction in Part V.
           a.   Gross Receipts                                                                        $ 0.00
 4
           b.   Ordinary and necessary operating expenses                                             $ 0.00
           c.    Business income                                                                      $ 0.00

      Rent and other real property income. Subtract Line b from Line a and enter the difference
      in the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include
      any part of the operating expenses entered on Line b as a deduction in Part V.

           a.    Gross Receipts                                                                       $ 0.00
 5
           b.   Ordinary and necessary operating expenses                                             $ 0.00
           c.   Rent and other real property income                                                   $ 0.00

 6    Interest, Dividends and Royalties.                                                                                       $ 0.00        $ 0.00

 7    Pension & Retirement Income.                                                                                             $0.00          $0.00

      Any amounts paid by another person or entity, on a regular basis, for the household
      expenses of the debtor or the debtor’s dependents, including child support paid for
 8
      that purpose. Do not include alimony or separate maintenance payments or amounts paid
      by your spouse if Column B is completed.                                                                                 $ 0.00      $ 760.15
      Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
      However, if you contend that unemployment compensation received by you or your spouse
 9
      was a benefit under the Social Security Act, do not list the amount of such compensation in
      Column A or B, but instead state the amount in the space below:                                                          $ 0.00        $ 0.00




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    Income from all other sources. Specify source and amount. If necessary, list additional
    sources on a separate page. Do not include alimony or separate maintenance payments
    paid by your spouse if Column B is completed, but include all other payments of
    alimony or separate maintenance. Do not include any benefits received under the Social
 10 Security Act or payments received as a victim of a war crime, crime against humanity, or as
    a victim of international or domestic terrorism.
           a.                                                                                                $ 0.00

           b.                                                                                                $ 0.00
         Total and enter on Line 10

      Subtotal Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2
 11
      through 9 in Column B. Enter the total(s).                                                                                $ 6,734.50          $ 760.15
    Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B, and
 12 enter the total. If Column B has not been completed, enter the amount from Line 10, Column                                         $ 7,494.65
    A.

                                                  Part III - Application of § 707(b)(7) Exclusion

 13 Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line                                                   $89,935.80
    12 by the number 12 and enter the result.
      Applicable Median Family Income. Enter the median family income by state and
      household size.
 14
                                     IL b. Debtor's Household Size: __________
      a. State of Residence: ____________                                                           5                                 $ 90,976.00
      Application of Section 707(b)(7). Check the applicable box and proceed as directed.

        X The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for “The presumption does not
 15              arise” at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
           The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.



 57                                                              Part VIII: VERIFICATION

I declare under penalty of perjury that the information provided in this statment is true and correct.


Dated: 10/28/2014                          /s/ Johnathan A King
                                                                    Johnathan A King

Dated: 10/28/2014                          /s/ Monica C King
                                                                      Monica C King

*Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment




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